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 1   HEATHER E. WILLIAMS, SBN #122664
     Federal Defender
 2   RACHELLE BARBOUR, SBN #185395
     Assistant Federal Defender
 3   OFFICE OF THE FEDERAL DEFENDER
     Designated Counsel for Service
 4   801 I Street, 3rd Floor
     Sacramento, CA 95814
 5   Telephone: (916) 498-5700
     Fax: (916) 498-5710
 6
     Attorneys for Defendant
 7   CHRISTOPHER JORDEN BOOTH-HALL

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                  )   Case No. 2:22-cr-00246-JAM
12                                              )
                         Plaintiff,             )   STIPULATION AND ORDER TO
13                                              )   CONTINUE RESTITUTION HEARING
     vs.                                        )
14                                              )   New Date: July 9, 2024
     CHRISTOPHER JORDEN BOOTH-                  )   Time: 9:00 a.m.
15   HALL,                                      )   Judge: Hon. John A. Mendez
                                                )
16                      Defendant.              )
                                                )
17
             IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
18
     Attorney, through Roger Yang, Assistant United States Attorney, attorney for Plaintiff, and
19
     Heather Williams, Federal Defender, through Assistant Federal Defender Rachelle Barbour,
20
     attorney for Christopher Jorden Booth-Hall, Defendant, that the Restitution Hearing date be
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     continued to July 9, 2024 , at 9:00 a.m.
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      Stipulation and Order                          -1-
                                                                                            US v.Booth-Hall
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 1           This continuance is requested to provide the defense attorney additional time to contact

 2   claimants and discuss their restitution requests.

 3
 4                                                 Respectfully submitted,

 5                                                 HEATHER E. WILLIAMS
                                                   Federal Defender
 6
 7   Date: May 29, 2024                            /s/ Rachelle Barbour
                                                   RACHELLE BARBOUR
 8                                                 Assistant Federal Defender
                                                   Attorneys for Defendant
 9                                                 CHRISTOPHER BOOTH-HALL

10
     Date: May 29, 2024                            PHILLIP A. TALBERT
11                                                 United States Attorney
12
                                                   /s/Roger Yang
13                                                 ROGER YANG
                                                   Assistant U.S. Attorney
14                                                 Attorney for Plaintiff
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      Stipulation and Order                              -2-
                                                                                             US v.Booth-Hall
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 1
                                                    ORDER
 2
             The Court, having received, and considered the parties’ stipulation, and good cause appearing
 3
     therefrom, ADOPTS the parties’ stipulation in its entirety as its order.
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 5
      Dated: May 30, 2024                              /s/ John A. Mendez
 6                                                     THE HONORABLE JOHN A. MENDEZ
 7                                                     SENIOR UNITED STATES DISTRICT JUDGE

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      Stipulation and Order                            -3-
                                                                                               US v.Booth-Hall
